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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                             Case No. 2:23-md-3080 (BRM)(RLS)

  IN RE: INSULIN PRICING                     MDL No. 3080
  LITIGATION



  This Document Relates to:

  The State of Mississippi, ex rel. Lynn
  Fitch, Attorney General v. Eli Lilly and
  Company, et al.
  Case No. 2:23-cv-04364 (BRM)(RLS)


                         PROPOSED ORDER
                  ON MANUFACTURER DEFENDANTS’
               MOTION FOR JUDGMENT ON THE PLEADINGS

        THIS MATTER having come before the Court upon the Motion of

  Defendants Sanofi-Aventis U.S. LLC, Novo Nordisk Inc., and Eli Lilly and

  Company (collectively, “Manufacturers”) under Federal Rule of Civil Procedure

  12(c), for entry of an order entering partial judgment on the pleadings; the Court

  having considered the submissions of the parties and having heard oral argument, if

  any; and for good cause shown,

        IT IS on this _____day of _____________, 2024,

        ORDERED that Manufacturers’ Motion for Judgment on the Pleadings is

  hereby GRANTED.


                                HONORABLE BRIAN R. MARTINOTTI, U.S.D.J.
